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1                                                             The Honorable John C. Coughenour
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                              UNITED STATES DISTRICT COURT FOR THE
9                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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11
      UNITED STATES OF AMERICA,
12
                                                          NO. CR15-0202-JCC
                               Plaintiff,
13
                                                          ORDER CONTINUING TRIAL DATE
14                                                        AND DEADLINE TO FILE PRETRIAL
                         v.                               MOTIONS
15
      JUAN DIEGO VASQUEZ-CARDENAS,
16
17                             Defendant.
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19
            This matter comes before the Court on the parties’ Stipulated Motion to Continue
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     Trial Date and Pretrial Motions Deadline (Dkt. No. 105). The parties seek to continue the
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     trial date in this matter from the current date of November 9, 2015 to March 28, 2016,
22
     when trial is set for Defendant Juan Diego Vasquez-Cardenas’s five co-defendants. (Dkt.
23
     No. 105 at 2.) On September 17, 2015, Mr. Vasquez-Cardenas filed with the Court a
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     waiver of his rights under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., through the
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     proposed trial date of March 28, 2016. (Dkt. No. 104.)
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            Having considered the parties’ stipulated motion (Dkt. No. 105) and the relevant
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     record, the Court finds as follows:
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            1.      The facts and circumstances are as set forth in the motion;
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 1          2.      Failure to grant a continuance in this case will deny counsel the reasonable
 2 time necessary for effective preparation of trial and other pretrial proceedings, taking into
 3 account the exercise of due diligence;
 4          3.      Failure to grant a continuance would likely result in a miscarriage of
 5 justice;
 6          4.      The ends of justice served by granting this continuance outweigh the best
 7 interest of the public and the defendants in a speedy trial;
 8          5.      All these findings are made within the meaning of 18 U.S.C.
 9 § 3161(h)(7)(A) and (B)(i),(ii) and (iv); and
10          6.      The period of time from the filing date of the Stipulated Motion to
11 Continue Trial Date and Pretrial Motions Deadline (Dkt. No. 105) until the new trial date,
12 set forth below, shall be excludable time pursuant to the Speedy Trial Act, 18 U.S.C.
13 § 3161(h)(7)(A).
14          IT IS THEREFORE ORDERED that:
15          7.      The trial in this matter is continued to March 28, 2016, and joined with that
16 of co-defendants in the above-captioned matter.
17          8.      Pre-trial motions are due no later than January 22, 2016.
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19          DONE this 22 day of September 2015.
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                                                   A
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                                                   HON. JOHN C. COUGHENOUR
26                                                 United States District Court
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     U.S. v. Vasquez-Cardenas, CR15-0202-JCC
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